Case 3:20-cv-08267-ZNQ-TJB Document 62 Filed 03/30/21 Page 1 of 2 PageID: 843




                                 UNITED STATES DISTRICT
                               COURT FOR THE DISTRICT OF
                                      NEW JERSEY




  CHRISTINE CONFORTI, ARATI KREIBICH,
  MICO LUCIDE, JOSEPH MARCHICA,                             Case No. 3:20-CV-08267-FLW
  KEVIN MCMILLAN, ZINOVIA SPEZAKIS,
  and NEW JERSEY WORKING FAMILIES
                                                                      Civil Action
  ALLIANCE, INC.,
                 Plaintiffs,
                                                                        ORDER
  v.
  CHRISTINE GIORDANO HANLON, in
  herofficial capacity as Monmouth County Clerk,
  SCOTT M. COLABELLA, in his official
  capacity as Ocean County Clerk, PAULA
  SOLLAMI COVELLO, in her official capacity
  as Mercer County Clerk, JOHN S. HOGAN, in
  his official capacity as Bergen County Clerk,
  EDWARD P. MCGETTIGAN, in his official
  capacity as Atlantic County Clerk,
               Defendants




THIS MATTER having been brought to the attention of the Court by John M. Carbone,
Esquire, attorney for the Proposed Intervenor, the Honorable James Hogan, the Gloucester County
Clerk and with consent of the other parties, no objection, and the submissions of the Parties
having been considered, and otherwise for good cause shown;

IT IS ON THIS 30th DAY OF MARCH 2021, ORDERED THAT:

   1. Proposed Intervenor the Honorable James Hogan's, the Gloucester County Clerk, Motion to
Case 3:20-cv-08267-ZNQ-TJB Document 62 Filed 03/30/21 Page 2 of 2 PageID: 844



     Intervene shall be and hereby is GRANTED.

SO ORDERED.


                                          s/ Tonianne J. Bongiovanni

                                        TONIANNE J. BONGIOVANNI
                                        United States Magistrate Judge
